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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

CRIMINAL ACTION NO. 1:20-CR-10111-RWZ

UNITED STATES OF AMERICA
Vv.

CHARLES LIEBER

MEMORANDUM & ORDER
October 13, 2021
ZOBEL, S.D.J.

Defendant Charles Lieber is accused in a six-count superseding indictment of
making false statements to the government of the United States in violation of 18 U.S.C.
§ 1001(a)(2), filing a false tax return in violation of 26 U.S.C. § 7206(1), and failing to
report a foreign bank and financial account in violation of 31 U.S.C. §§ 5314 and 5322.
He moves to suppress his post-arrest statements on the ground that they were obtained
in violation of his rights under the Fifth Amendment of the U.S. Constitution. Docket
##170, 173. Following a hearing and arguments of counsel, the motion is denied.

I. Factual Background
The parties do not dispute the factual circumstances surrounding the statements

at issue in defendant's motion to suppress."

 

1 The government accepts for purposes of disposing of the motion defendant's recitation of facts set forth
in his memorandum in support thereof. Docket #177 at 3 (citing Docket #173 at 1-5).

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At the time of the events in issue, defendant was a professor in the Department

of Chemistry and Chemical Biology at Harvard University. He had a distinguished

~-~¢areer in the field of nanoscience,; having published over 400 papers-in peer-reviewed. - --

journals and received more than 50 patents as the principal inventor. Defendant also
served as the Principal Investigator of the Lieber Research Group, which was funded by
the National Institutes of Health (“NIH”) and U.S. Department of Defense (“DOD”)
through research grants awarded to Harvard University. Defendant had been
diagnosed with a serious cancer, from which he continues to suffer.

On January 28, 2020, defendant was arrested on a criminal complaint that
charged him with two counts of making false statements in violation of 18 U.S.C.

§ 1001(a)(2). On June 9, 2020, a grand jury returned a two-count indictment charging
the same. Count one alleges that in 2018 defendant made a false statement to the
DOD's Defense Criminal Investigative Service. Count two asserts that in 2019 he
caused Harvard to make a false statement to the NIH.

On July 28, 2020, a grand jury returned a superseding indictment that added four
counts: counts three and four charge defendant with filing a false tax return for tax years
2013 and 2014, in violation of 26 U.S.C. § 7206(1); and each of counts five and six
charges him with failing to file a report of a foreign bank and financial account with the
U.S. government, in violation of 31 U.S.C. §§ 5314 and 5322. Defendant has pleaded
not guilty to all charges.

Counts three through six are based on information the government obtained from
the post-arrest interrogation at issue in the pending motion to suppress. Two FBI

agents, Special Agents Robert Plumb (“Plumb”) and Kara Spice (“Spice”) (collectively,
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the “Agents”), arrested defendant at approximately 6:38 a.m. on January 28, 2020 at his

Harvard office and laboratory. They then transported him to the Harvard University

Police Department headquarters where they interrogated him.

At the start of the interrogation, Plumb read defendant his Miranda rights,

 

including that he had the right to an attorney, and presented him with a written waiver
form to sign if he so chose. Plumb ultimately informed defendant of his rights a second
time. The full exchange, as relevant to this motion, proceeded as follows:

[Plumb]: Before we ask you many questions you must understand your
rights. You have the right to remain silent. Anything you say can be used
against you in court. You have the right to talk to a lawyer for advice before
we ask you any questions. You have the right to have a lawyer with you
during the questioning. If you cannot afford a lawyer one will be appointed
for you before any questioning if you wish. If you decide to answer
questions now without a lawyer present you have the right to stop answering
at any time. And what I’m going to ask you Dr. Leiber is to read this
statement right here and sign it if you wish. In order for you to, in order for
us to talk to you about the information we—we have to make sure that you
understand your rights and take your time too.

[Defendant]: No, | understand my rights | guess. Um, yeah I’m willing to
sign this but | guess | think probably | should have ah, an attorney.

[Plumb]: Well | want to...
[Defendant]: That's why if anything | say is going to ...

[Plumb]: So | understand what you are saying. Ah and | want to be very
- open with you, we don’t—we don’t play ah tricks or anything like that. Ah,
we would appreciate the opportunity to talk with you but because, if you
request an attorney because of that privilege we are not able to continue
the conversation with you. So ah, what I—what | have to do again um just
because you said that is | have to review the form again with you to make
sure you understand the rights and as we go through it | want you to
understand. You can stop—you can stop answering at any time.

’ [Defendant]: Sure, | understand that. Um, ok I'll ah sign it and then we can
start talking and if | feel like | need some ...

[Plumb]: Sure and like | said, Dr. Lieber | hope you ah learn to trust me.
We are going to treat you with respect during this process. | want to be as
open and transparent as possible with you and | hope to—to learn from you
what's going on. That’s part of the reason why we are here. Ok?

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[Defendant]: Yes.

[Plumb]: I’ll—l'll read this again and you will be able to sign it. Before we

ask you any questions you must understand your rights. You have the right

~~to-remain silent. Anything you say can be used against you in court. You

have the right to talk to a lawyer for advice before we ask you any questions.

You have the right to have a lawyer with you during the questioning. If you

cannot afford a lawyer one will be appointed for you before any questioning

if you wish. If you decide to answer questions now without a lawyer present

_ you have the right to stop answering at any time. And ah, this part right here
“- $ays ...

[Defendant]: | have read and | understand, ok.
Ex. 3 at 3-4; Ex. 2 at 0:01:51-0:05:06.2 Defendant then signed the waiver and the

parties proceeded to the interrogation.

_ . The questioning lasted approximately three hours. Early on during the
interrogation, Plumb informed defendant that the interview was intended, at least in part,
to learn more about defendant’s government research grants. E.g., Ex. 3 at 5 (“Um,
one of the things that we’ve been looking at ah concerns your use of grants and that's—
that’s what we want to ah learn to ah, understand how that-how that works and what |
want to do is ah, get a sense of what your background is and how you got to where you
are today and then—then learn what your research involves now and who you do it
with, where you do it and that sort of thing.”), 7 (‘Ah, what—what | want to get into is
. some of ah, some of the government grants.... Because that’s what brought us here.”),
9-10 (“I want to learn more about how that research is funded. Because that's ultimately
why we're here.”); Ex. 2 at 06:02-06:35, 11:47-54, 16:44-50. The Agents offered

defendant drink and/or food at least four different times during the interview, including

 

2 Exhibit 3 is an unofficial draft transcript of defendant's post-arrest interrogation. For clarity, the initials of
the individuals speaking in the transcript have been replaced herein with the following: “CL” has been
replaced with “Defendant” and “RP” has been replaced with “Plumb.” Exhibit 2 is the audio and video
recording of the interrogation.

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food that would meet defendant's strict dietary restrictions due to his illness. Ex. 3 at 2,

declined each offer. Ex. 3 at 2, 18, 44, 66-67; Ex. 2 at 0:05-20, 36:40-55, 1:33:35-39,
2:23:15-2:24:34. The Agents also offered to retrieve any medications defendant might
. need for his illness, which defendant also declined. Ex. 3 at 66; Ex. 2 at 2:23:15-37.
When defendant first informed the Agents of having digestive issues due to his
treatment, the Agents offered him a break, which he declined. Ex. 3 at 18; Ex. 2 at
36:40-55.
ll. © Discussion
Defendant does not dispute that the post-arrest interview was a custodial
interrogation and that he was informed of his right to request an attorney before the
interrogation began, as the law requires. See Edwards v. Arizona, 451 U.S. 477, 481-
82 a 981); Miranda v. Arizona, 34 U.S. 436, 479 (1966); United States v. Carpentino,
948 F.3d 10, 20 (1st Cir. 2020). He now moves to suppress all statements made
during the interrogation on the grounds that (1) the Agents ignored the invocation of his
right to an attorney by proceeding with the questioning after he requested an attorney,
~ and (2) the statements were not voluntary in any event.

A. Invocation and Waiver of the Right to Counsel

If a suspect in custody invokes his right to counsel at any point during an
interrogation, officers must cease all questioning until an attorney is present or until the
suspect initiates further communication. Edwards, 451 U.S. at 484-85; Carpentino, 948
F.3d at 20. This is a prophylactic rule “designed to prevent police from badgering a
defendant into waiving his previously asserted Miranda rights.” Davis v. United States,

512.U.S. 452, 458 (1994) (citation omitted). A suspect's invocation of his right to have
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18, 44, 66-67; Ex. 2 at 0:05-20, 36:40-55, 1:33:35-39, 2:23:15-2:24:34. Defendant |
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an attorney present must be clearly stated so that a reasonable officer may understand

that the right is being invoked. See Davis, 512 U.S. at 459 (“[I]f a suspect makes a

““referéricé to an attorney that is ambiguous or equivocal in that a reasonable officer in-~" ~~~

light of the circumstances would have understood only that the suspect might be
invoking the right to counsel, our precedents do not require the cessation of
questioning.”); Carpentino, 948 F.3d at 23-24. A suspect may waive his right to counsel
if the waiver is both “knowing and voluntary.” Carpentino, 948 F.3d at 26. “[T]he
government bears the burden of showing the validity of the waiver by a preponderance
of the evidence.” Id. Here, the government has satisfied its burden of proof.

Defendant contends that his statement in response to the Agents’ initial recitation
of his Miranda rights and request for waiver—i.e., “I’m willing to sign this [waiver] but |
guess | think probably | should have ah, an attorney’—was the unequivocal request for
an attorney that invoked his right to counsel. Docket #173 at 10. Defendant further
contends that the Agents ignored this invocation and improperly continued to question
him, thereby rendering his signed waiver inoperative. Id. at 13. Defendant's statement,
however, was not sufficiently unambiguous to constitute an invocation of his right to
counsel.3 At most, the hedging language in the statement would cause a reasonable
officer to understand that defendant “might be invoking [his] right to counsel,” not that he
actually did invoke the right. See Davis, 512 U.S. at 459. Defendant's statement that

“[he] think[s] probably [he] should have ah, an attorney” is similar to the “maybe | should

 

3 Defendant submits an affidavit along with his motion in which he attests to the following: “Once the
government agent read me my rights, | wanted a lawyer. | requested a lawyer. | understood the agent's
interruption of my request for a lawyer as a denial of my request.” Docket #172 {| 13. However, as noted
earlier, the question is whether defendant's actual statements can be considered an invocation of his right
to counsel, not what he said he intended at the time as stated in his post hoc affidavit.

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talk toa lawyer” language the Supreme Court affirmed in Davis as insufficiently
unambiguous to constitute an invocation of the right to counsel. See 512 U.S. at 462;
~ ‘see also Docket #177 at 8 (collecting cases addressing similarly ambiguous requésts
for counsel). As Davis made clear, the possibility that defendant in this case was
requesting a lawyer is not enough to trigger a cessation of the interrogation or to render
his signed waiver inoperative. See Davis, 512 U.S. at 462.

Defendant attempts to cure the ambiguity in his statement by pointing to Plumb’s
response that he “underst[ood] what [defendant was] saying,” as an acknowledgement
that Plumb understood defendant to be asking for a lawyer, and that his second

recitation of defendant’s Miranda rights was an attempt to “redirect [him] until he

 

obtained the waiver he was pressing for.” Docket #173 at 11. The argument, however,
stretches the words used. First, Plumb’s statement that he “underst[ood] what
{defendant was] saying” does not clearly indicate that Plumb understood that defendant
was actually requesting to have an attorney present. Indeed, Plumb’s later statements
‘indicate that he was not sure whether defendant was requesting an attorney and
wanted to seek clarification:
Ah, we would appreciate the opportunity to talk with you but because, if you
request an attorney because of that privilege we are not able to continue
the conversation with you. So ah, what |—what | have to do again um just
because you said that is | have to review the form again with you to make

sure you understand the rights and as we go through it | want you to
understand. You can stop—you can stop answering at any time.

Ex. 3 at 4; Ex. 2 at 03:06-50. In any event, the inquiry as to whether defendant invoked
his right to counsel is an objective one; it is therefore irrelevant what Plumb’s subjective

understanding was at the time. See Davis, 512 U.S. at 459.
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Second, Plumb’s subsequent recitation of defendant's Miranda rights was not an
attempt to “redirect” the defendant into waiving his rights or a “misstatement” of the law
“that would make a “reasonable person” in defendant's position believe that a request for
counsel “would result in a ceaseless cycle [of Miranda recitations] until he surrendered
to an interview.” Docket #173 at 10-12; Docket #184 at 3-4. | find that Plumb merely
took steps to ensure that defendant understood his rights and the consequences of
waiving those rights, the type of “good police practice” encouraged by Davis. See 512
US. at 461. Defendant does not identify any case law that prohibits a subsequent
recitation of the Miranda rights or supports the contention that the repetition is in any
way coercive or improper. That is because such a prohibition would undermine the very

purpose of Miranda, which is to ensure that suspects know about and understand their

 

‘rights under the law. See Miranda 384 U.S. at 467 (‘[i]n order to combat these
[coercive] pressures and to permit a full opportunity to exercise the privilege against
self-incrimination, the accused must be adequately and effectively apprised of his
rights”). After the second recitation by Plumb, defendant stated that he read and
understood his rights and proceeded to sign the waiver form and answer questions.

B. Voluntariness

Notwithstanding his valid waiver of the right to counsel, defendant contends that
his statements were involuntarily given in any event and should therefore be
- suppressed on that ground. Similar to the waiver inquiry, the government bears the
burden of proving by a preponderance of the evidence that under the “totality of the
circumstances” a defendant’s statements were voluntarily given; that the free will of the
defendant was not overborne by government coercion. Haynes v. Washington, 373

U.S. 503, 513-14 (1963); United States v. Jacques, 744 F.3d 804, 809 (1st Cir. 2014).
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Among the circumstances to consider are the length and location of the interrogation;
the maturity, education, physical condition, and mental health of the defendant; the

~ conduct of the interrogators; and the defendant's prior experience with the criminal
justice system. See Withrow v. Williams, 507 U.S. 680, 693-94 (1993); Jacques, 744
F.3d at 809. The mental condition of the suspect is particularly significant where the

: police use “subtle forms of psychological persuasion” in order to induce a confession.
Colorado v. Connelly, 479 U.S. 157, 164 (1986). Here the government has satisfied its
burden of proof.

Although defendant apparently had no prior experience with the criminal justice
system, he is a mature, sophisticated academic and researcher, with advanced degrees
and a tenured position at a prestigious university. At the time of the interrogation, he
knew he was under arrest and that the focus of the interview was defendant's
government research grants. E.g., Ex. 3 at 5 (“one of the things that we've been looking
at ah concerns your use of grants ...”), 7 (“what | want to get into is some of ah, some of
the government grants”); Ex. 2 at 06:02-06:35, 11:47-54. The interview lasted
approximately three hours, not an unreasonable length of time from which to infer
coerciveness. See, e.g., Carpentino, 948 F.3d at 28-29 (concluding six-hour detention
and questions was “insufficiently lengthy or numerous to raise an inference that the
defendant's will was overborne”). The Agents offered defendant drink and/or food at
least four times during the interview, including an offer to provide him food that would
meet his specific dietary restrictions, which defendant declined. Ex. 3 at 2, 18, 44, 66-
67; Ex. 2 at 0:05-20, 36:40-55,1:33:35-39, 2:23:15-2:24:34. Defendant also declined to

take a break when offered by the Agents after defendant informed them of his digestive
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problems related to his cancer treatment. Ex. 3 at 18; Ex. 2 at 36:40-55. The Agents

 

informed defendant of his Miranda rights twice, which defendant knowingly and
voluntarily waived. These facts all support the conclusion that defendant gave his
statements voluntarily.

Defendant contends that the “coercion and trickery” that crossed the line into
impermissible conduct and rendered his statements involuntary include the Agents’
failure to inform him of the charges against him and their “misrepresent[ion]” of the
| focus of their investigation. Docket #173 at 13-15. The recording of the interrogation,
however, shows that the Agents’ conduct did not cross that line. First, although
defendant may have been caught by surprise when he was arrested and was initially
unaware of the reason for his arrest, Plumb informed him at the start of the interview
that at least one of the purposes of the interview was to get more information about |
defendant's “government [research] grants.” Ex. 3 at 5, 7, 9-10; Ex. 2 at 06:02-06:35,
11:47-54, 16:44-50. Later during the interview, defendant, without being prompted by
the Agents, brought up specific details of the foreign funding program at issue in the
investigation and stated that “that’s probably, you know, ultimately the details of what
you want to talk about ....” Ex. 3 at 13; Ex. 2 at 27:02-18. | am therefore persuaded
that defendant had at least a general understanding of what the interview was about.

Second, the recording reveals that the Agents did not misrepresent the focus of
their investigation, contrary to defendant's assertions. The recording makes clear that
the statement defendant offers as proof of the misrepresentation made by Plumb—“I'm

very concerned about protecting you as an interest’—was transcribed incorrectly in the

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transcript cited and was actually a statement that Plumb was “very concerned about
protecting U.S. interests."4 Ex. 2 at 1:01:25-34, 1:11:13-22.

Defendant also contends that defendant's illness and the “pain, fatigue, and
nausea” it causes him exacerbated his vulnerability to the Agents’ purported “coercion
_ and trickery.” Docket #173 at 15. Although defendant's condition was serious at the
time of the interview and he may have been experiencing discomfort throughout, there
is no indication that it impacted the voluntariness of his statements.° The video and
audio recording shows defendant engaging with the Agents in a calm manner without
any obvious demonstration of physical discomfort. At no point did defendant express
any physical pain or request any accommodations. To the contrary, he actually
declined each offer of drink, food, medication, and a break, including offers of drink
and/or food that would comply with his dietary restrictions. Ex. 3 at 2, 18, 44, 66-67; Ex.
2 at 0:05-20, 36:40-55,1:33:35-39, 2:23:15-2:24:34. | am therefore not persuaded that
defendant’s physical health was in such a weakened state that it would undercut the
voluntariness of his statements.

Considered in their totality, the circumstances of defendant's post-arrest
interrogation demonstrate that defendant's statements were given voluntarily. See, ¢.g.,
United States v. Boskic, 545 F.3d 69, 80-81 (1st Cir. 2008) (concluding that defendant's

statements were voluntarily given even where the government interrogators failed to

 

4 The incorrect transcription is found in Exhibit 3 at 30, 34.

§ In his affidavit, defendant attests that during the interview “[he] was disoriented and the whole event
exacerbated [his] feelings of weakness,” that “[his] physical state made [him] vulnerable and easily
intimidated,” and that “[blecause of [his] physical condition that day, [he] did not have the strength or
stamina to reiterate any more forcefully than [he] did [his] request for counsel.” Docket #172 {f] 11, 13.
Notwithstanding defendant’s post hoc assertions, at no point during the interview did he make the Agents
aware of his discomfort or pain, and there is no indication in the audio and video recording that defendant
was experiencing anything other than what might be understood as the typical nervousness one would
expect of a suspect being interrogated.

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inform the defendant of the nature of all of the committed offenses, he did not have
counsel present during the interrogation, and exhibited nervousness and hesitance

. ‘because he was informed of his Miranda rights, the interview was not too lengthy, he

 

was offered food and drink, he was not subjected to physical discomfort, and the
defendant was well-educated, mature adult who “had a general familiarity with the
American legal system’).

lil. . Conclusion

Accordingly, the motion to suppress (Docket #170) is DENIED.

October 13, 2021 (Lo) 2p2

DATE ¢) RYAW. ZOBEL
UNITES STATES DISTRICT JUDGE

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